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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                             )
In re:                                                       )    Chapter 11
                                                             )
MOUNTAIN EXPRESS OIL COMPANY, et al.,                        )    Case No. 23-90147 (DRJ)
                                                             )
                          Debtors. ¹                         )    (Jointly Administered)
                                                             )



                          STATEMENT OF FINANCIAL AFFAIRS FOR
                           MEX RE-SE-AL LLC, (CASE NO. 23-90260)




¹ A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain Express Oil
Company’s principal place of business and the Debtors’ service address in these chapter 11 cases is 3650 Mansell
Road, Suite 250, Alpharetta, GA 30022.
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                       Chapter 11
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                              Case No. 23-90127 (DRJ)

                                      Debtors.1                        (Jointly Administered)

        GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
          AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
        ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Mountain Express Oil Company, and certain of its affiliates, as debtors and debtors in
possession in the above-captioned chapter 11 cases (the “Debtors”), have filed their respective
Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs (the
“Statements”) in the United States Bankruptcy Court for the Southern District of Texas, Houston
Division (the “Bankruptcy Court”). The Debtors, with the assistance of their Chief Restructuring
Officer (“CRO”), prepared the Schedules and Statements in accordance with section 521 of chapter
11 of title 11 of the United States Code (the “Bankruptcy Code”), Rule 1007 of the Federal Rules
of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 1007-1 of the Local Bankruptcy
Rules for the Southern District of Texas (the “Local Rules”).

       Michael Healy has signed each set of the Schedules and Statements. Mr. Healy serves as
the CRO of the Debtors. In reviewing and signing the Schedules and Statements, Mr. Healy has
necessarily relied upon the efforts, statements, and representations of the Debtors’ personnel and
professionals. Given the scale of the Debtors’ business and complexity of their businesses covered
by the Schedules and Statements, Mr. Healy has not (and could not have) personally verified the
accuracy of each such statement and representation, including statements and representations
concerning amounts owed to creditors.

        In preparing the Schedules and Statements, the Debtors and their professionals relied on
financial data derived from the Debtors’ books and records that was available at the time of such
preparation. Although the Debtors have made every reasonable effort possible to date to ensure
the accuracy and completeness of the Schedules and Statements, subsequent information or
discovery may result in material changes to the Schedules and Statements. As a result, inadvertent
errors or omissions may exist. For the avoidance of doubt, the Debtors hereby reserve their rights
to amend and supplement the Schedules and Statements as may be necessary or appropriate.



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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain
      Express Oil Company’s principal place of business and the Debtors’ service address in these chapter 11 cases is
      3650 Mansell Road, Suite 250, Alpharetta, GA 30022.



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        The Debtors and their CRO, agents, and attorneys do not guarantee or warrant the accuracy
or completeness of the data that is provided herein, and shall not be liable for any loss or injury
arising out of or caused in whole or in part by the acts, errors, or omissions, whether negligent or
otherwise, in procuring, compiling, collecting, interpreting, reporting, communicating, or
delivering the information contained herein. While commercially reasonable efforts have been
made to provide accurate and complete information herein, inadvertent errors or omissions may
exist. The Debtors and their CRO, agents, and attorneys expressly do not undertake any obligation
to update, modify, revise, or re-categorize the information provided herein, or to notify any third
party should the information be updated, modified, revised, or re-categorized, except as required
by applicable law. In no event shall the Debtors or their officers, employees, agents, or
professionals be liable to any third party for any direct, indirect, incidental, consequential, or
special damages (including, but not limited to, damages arising from the disallowance of a
potential claim against the Debtors or damages to business reputation, lost business, or lost profits),
whether foreseeable or not and however caused, even if the Debtors or their officers, employees,
agents, attorneys, or their professionals are advised of the possibility of such damages.

Global Notes and Overview of Methodology

1.      Description of Cases. On March 18, 2023, (the “Petition Date”), each of the Debtors filed
        voluntary petitions for relief under chapter 11 of the Bankruptcy Code with the Bankruptcy
        Court. The Debtors are operating their businesses and managing their property as debtors
        in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On March
        20, 2023, an order was entered directing procedural consolidation and joint administration
        of these chapter 11 cases [Docket No. 17]. Notwithstanding the joint administration of the
        Debtors’ cases for procedural purposes, each Debtor has filed its own Schedules and
        Statements. The information provided herein, except as otherwise noted, is reported as of
        the Petition Date. These Global Notes apply to the Schedules and Statements filed by the
        58 Debtors including the lead Debtor, the Debtors associated with the Debtors’ fuel supply
        business, and certain of the Debtors associated with the Debtors’ leasehold interests; they
        do not apply to the remaining 87 Debtors which primarily are engaged in the business of
        the Debtors’ C-Stores, travel centers, and related retail operations across the country (the
        “Retail Debtors”). Pursuant to the Order (I) Extending Time to File (A) Schedules of Assets
        and Liabilities; (B) Schedules of Current Income and Expenditures; (C) Schedules of
        Executory Contracts and Unexpired Leases, (D) Statements of Financial Affairs, and (E)
        Bankruptcy Rule 2015.3 Reports, and (II) Granting Related Relief [Docket No. 527],
        entered on June 14, 2023, the Court extended the deadline by which the Retail Debtors
        must file their Schedules and Statements until July 21, 2023.

2.      Global Notes Control. These Global Notes pertain to and comprise an integral part of
        each of the Debtors’ Schedules and Statements and should be referenced in connection
        with any review thereof. In the event that the Schedules and Statements conflict with these
        Global Notes, these Global Notes shall control.

3.      Reservations and Limitations. Reasonable efforts have been made to prepare and file
        complete and accurate Schedules and Statements based upon the information available in
        the Debtors books and records; however, as noted above, inadvertent errors or omissions
        may exist. The Debtors reserve all rights to amend and supplement the Schedules and

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        Statements as may be necessary or appropriate. Nothing contained in the Schedules and
        Statements constitutes a waiver of any of the Debtors’ rights or an admission of any kind
        with respect to these chapter 11 cases, including, but not limited to, any rights or claims of
        the Debtors against any third party or issues involving substantive consolidation, equitable
        subordination, or defenses or causes of action arising under the provisions of chapter 5 of
        the Bankruptcy Code or any other relevant applicable bankruptcy or non-bankruptcy laws
        to recover assets or avoid transfers. Any specific reservation of rights contained elsewhere
        in the Global Notes does not limit in any respect the general reservation of rights contained
        in this paragraph.

        a.         No Admission. Nothing contained in the Schedules and Statements is intended or
                   should be construed as an admission or stipulation of the validity of any claim
                   against the Debtors, any assertion made therein or herein, or a waiver of the
                   Debtors’ rights to dispute any claim or assert any cause of action or defense against
                   any party.

        b.         Recharacterization. Notwithstanding that the Debtors have made reasonable
                   efforts to correctly characterize, classify, categorize, or designate certain claims,
                   assets, executory contracts, unexpired leases, and other items reported in the
                   Schedules and Statements, the Debtors nonetheless may have improperly
                   characterized, classified, categorized, or designated certain items. The Debtors thus
                   reserve all rights to recharacterize, reclassify, recategorize, or redesignate items
                   reported in the Schedules and Statements at a later time as is necessary and
                   appropriate.

        c.         Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
                   Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
                   “executory” or “unexpired” does not constitute an admission by the Debtors of the
                   legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
                   rights to recharacterize or reclassify such claim or contract.

        d.         Claims Description. Any failure to designate a claim on a given Debtor’s
                   Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
                   constitute an admission by the Debtor that such amount is not “disputed,”
                   “contingent,” or “unliquidated.” The Debtors reserve all rights to dispute, or assert
                   offsets or defenses to, any claim reflected on their respective Schedules and
                   Statements on any grounds, including, without limitation, liability or classification,
                   or to otherwise subsequently designate such claims as “disputed,” “contingent,” or
                   “unliquidated” or object to the extent, validity, enforceability, priority, or
                   avoidability of any claim. Moreover, listing a claim does not constitute an
                   admission of liability by the Debtor against which the claim is listed or by any of
                   the Debtors. The Debtors reserve all rights to amend their Schedules and
                   Statements as necessary and appropriate, including, but not limited to, with respect
                   to claim description and designation.

        e.         Estimates and Assumptions. The preparation of the Schedules and Statements
                   required the Debtors to make reasonable estimates and assumptions with respect to

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                   the reported amounts of assets and liabilities, the amount of contingent assets and
                   contingent liabilities on the date of the Schedules and Statements, and the reported
                   amounts of revenues and expenses during the applicable reporting periods. Actual
                   results could differ from such estimates.

        f.         Intellectual Property Rights. Exclusion of certain intellectual property should not
                   be construed to be an admission that such intellectual property rights have been
                   abandoned, have been terminated or otherwise expired by their terms, or have been
                   assigned or otherwise transferred pursuant to a sale, acquisition, or other
                   transaction. Conversely, inclusion of certain intellectual property should not be
                   construed to be an admission that such intellectual property rights have not been
                   abandoned, have not been terminated or otherwise expired by their terms, or have
                   not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
                   transaction.

        g.         Insiders. The listing of a party as an insider for purposes of the Schedules and
                   Statements is not intended to be, nor should it be, construed an admission of any
                   fact, right, claim, or defense, and all such rights, claims, and defenses are hereby
                   expressly reserved. Information regarding the individuals listed as insiders in the
                   Schedules and Statements has been included for informational purposes only and
                   such information may not be used for the purposes of determining control of the
                   Debtors, the extent to which any individual exercised management responsibilities
                   or functions, corporate decision-making authority over the Debtors, or whether
                   such individual could successfully argue that he or she is not an insider under
                   applicable law, including the Bankruptcy Code and federal securities laws, or with
                   respect to any theories of liability or any other purpose.

                   In the circumstance where the Schedules and Statements require information
                   regarding “insiders”, the Debtors have included information with respect to the
                   individuals who the Debtors believe are included in the definition of “insider” set
                   forth in section 101(31) of the Bankruptcy Code during the relevant time periods.

4.      Methodology.

        a.         Basis of Presentation. The Schedules and Statements do not purport to represent
                   financial statements prepared in accordance with Generally Accepted Accounting
                   Principles in the United States (“GAAP”), nor are they intended to be fully
                   reconciled to the financial statements of each Debtor. The Schedules and
                   Statements contain unaudited information that is subject to further review and
                   potential adjustment. The Schedules and Statements reflect the Debtors’
                   reasonable efforts to report the assets and liabilities of each Debtor on an
                   unconsolidated basis except as noted on the applicable Schedules/Statements or
                   herein.

        b.         Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
                   may properly be disclosed in response to multiple parts of the Statements and



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                   Schedules. To the extent these disclosures would be duplicative, the Debtors have
                   determined to only list such assets, liabilities and prepetition payments once.

        c.         Net Book Value. In certain instances, current market valuations for individual
                   items of property and other assets are neither maintained by, nor readily available
                   to, the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
                   and Statements reflect estimates of net book values as of the Petition Date. Market
                   values may vary materially from net book values. It would be prohibitively
                   expensive, unduly burdensome, and an inefficient use of estate assets for the
                   Debtors to obtain the current market values of all their property. Accordingly, the
                   Debtors have indicated in the Schedules and Statements that the values of certain
                   assets and liabilities are undetermined. Amounts ultimately realized may vary
                   materially from net book value (or whatever value was ascribed). Accordingly, the
                   Debtors reserve all rights to amend, supplement, or adjust the asset values set forth
                   herein. Also, assets that have been fully depreciated or that were expensed for
                   accounting purposes either do not appear in these Schedules and Statements or are
                   listed with a zero-dollar value, as such assets have no net book value.

        d.         Property and Equipment. Unless otherwise indicated, owned property and
                   equipment are valued at net book value. The Debtors may lease furniture, fixtures,
                   and equipment from certain third-party lessors. To the extent possible, any such
                   leases are listed in the Schedules and Statements. Nothing in the Schedules and
                   Statements is, or should be construed as, an admission as to the determination of
                   the legal status of any lease (including whether any lease is a true lease or a
                   financing arrangement), and the Debtors reserve all rights with respect thereto.

        e.         Allocation of Liabilities. The Debtors allocated liabilities between the prepetition
                   and postpetition periods based on the information and research conducted in
                   connection with the preparation of the Schedules and Statements. As additional
                   information becomes available and further research is conducted, the allocation of
                   liabilities between the prepetition and postpetition periods may change.

        f.         Undetermined Amounts. The description of an amount as “unknown” is not
                   intended to reflect upon the materiality of such amount.

        g.         Unliquidated Amounts. Amounts that could not be fairly quantified by the
                   Debtors are scheduled as “unliquidated” or “unknown.”

        h.         Totals. All totals that are included in the Schedules and Statements represent totals
                   of all known amounts. To the extent there are unknown or undetermined amounts,
                   the actual total may be different than the listed total.

        i.         Intercompany Claims. Receivables and payables among the Debtors and among
                   the Debtors and their non-Debtor affiliates are reported on Schedule A/B and
                   Schedule E/F, respectively, per the Debtors’ books and records. The listing of any
                   amounts with respect to such receivables and payables is not, and should not be
                   construed as, an admission of the characterization of such balances as debt, equity,


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                   or otherwise. These claims are subject reconciliation and the amounts listed may
                   be materially misstated and subject to material adjustment upon the conclusion of
                   a reconciliation.

        j.         Guarantees and Other Secondary Liability Claims. The Debtors have exercised
                   reasonable efforts to locate and identify guarantees in their executory contracts,
                   unexpired leases, secured financings, and other such agreements. Where
                   guarantees have been identified, they have been included in the relevant Schedule
                   G with respect to leases and Schedule H with respect to credit agreements for the
                   affected Debtor or Debtors. The Debtors may have inadvertently omitted
                   guarantees embedded in their contractual agreements and may identify additional
                   guarantees as they continue their review of their books and records and contractual
                   agreements. In the ordinary course of the Debtors’ business and lending
                   relationships, parties have required certain subsidiary Debtors’ lease obligations to
                   be guaranteed by Debtor Mountain Express Oil Company. Due to the high number
                   of such obligations, they are not listed individually here. The Debtors reserve their
                   rights to amend the Schedules and Statements if additional guarantees are
                   identified.

        k.         Excluded Assets and Liabilities. The Debtors have excluded the following
                   categories of assets and liabilities from the Schedules and Statements: certain
                   deferred rent charges, accounts, or reserves recorded only for purposes of
                   complying with the requirements of GAAP; and certain accrued liabilities
                   including, but not limited to, employee benefits. Other immaterial assets and
                   liabilities may also have been excluded.

        l.         Liens. The inventories, property, and equipment listed in the Schedules and
                   Statements are presented without consideration of any liens.

        m.         Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

        n.         Setoffs. The Debtors incur setoffs and net payments in the ordinary course of
                   business. Such setoffs and nettings may occur due to a variety of transactions or
                   disputes including, but not limited to, intercompany transactions, counterparty
                   settlements, deposits received from customer, and amounts due from customers that
                   may also be vendors. These normal, ordinary course setoffs and nettings are due
                   to the nature of the Debtors customer and supplier relationships. Such setoffs and
                   other similar rights may have been accounted for when scheduling certain amounts,
                   these ordinary course setoffs are not independently accounted for, and as such, are
                   or may be excluded from the Debtors’ Schedules and Statements. In addition, some
                   amounts listed in the Schedules and Statements may have been affected by setoffs
                   or nettings by third parties of which the Debtors are not yet aware. The Debtors
                   reserve all rights to challenge any setoff and/or recoupment rights that may be
                   asserted.

5.      Specific Schedules Disclosures.



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        a.         Schedule A/B, Parts 1 and 2 - Cash and Cash Equivalents; Deposits and
                   Prepayments. Details with respect to the Debtors’ cash management system and
                   bank accounts are provided in the Debtors' Emergency Motion for Entry of Interim
                   and Final Orders (I) Authorizing Maintenance of Existing Bank Accounts; (II)
                   Authorizing Continuance of Existing Cash Management System; (III) Granting
                   Limited Waiver of Section 345(b) Deposit Requirements; (IV) Authorizing
                   Continued Performance of Intercompany Transactions and Funding; and (V)
                   Granting Related Relief [ [Docket No. 52] (the “Cash Management Motion”) and
                   any orders of the Bankruptcy Court granting the Cash Management Motion. As
                   described therein, the Debtors utilize a centralized cash management system.

                   Additionally, the Bankruptcy Court, pursuant to the Order (I) Approving the
                   Proposed Adequate Assurance Deposit for Future Utility Services, (II) Prohibiting
                   Utility Providers from Altering, Refusing, or Discontinuing Services, (III)
                   Approving the Proposed Adequate Assurance Procedures for Resolving Adequate
                   Assurance Requests, and (IV) Granting Related Relief [Docket No. 83], has
                   authorized the Debtors to provide adequate assurance of payment for future utility
                   services. Such deposits are not listed on Schedule A/B, Part 2, which has been
                   prepared as of the Petition Date.

        b.         Schedule A/B, Part 4 - Investments; Non-Publicly Traded Stock and Interests
                   in Incorporated and Unincorporated Businesses, including any Interest in an
                   LLC, Partnership, or Joint Venture. Ownership interests in subsidiaries have
                   been listed in Schedule A/B, Part 4, as undetermined amounts on account of the
                   fact that the fair market value of such ownership is dependent on numerous
                   variables and factors, and may differ significantly from their net book value.

        c.         Schedule A/B, Part 5 - Inventory – Fuel inventory is monitored by the Debtors’
                   automatic fuel gauge readers, which record daily inventory amounts. Fuel
                   inventory is valued using the weighted average cost method for each fuel grade and
                   type.

        d.         Schedule A/B, Part 7 - Office Furniture, Fixtures, and Equipment; and
                   Collectibles; Part 8 – Fixed Asset Listing. The Debtors track fixed assets and
                   depreciation in a fixed asset system external to their accounting system. Generally,
                   fixed asset descriptions may include very broad descriptions (e.g., “Computer
                   Hardware”), may include a vendor name in lieu of an asset description, may have
                   multiple line items associated with a single asset if multiple general ledger
                   transactions occurred for a single asset, or may combine multiple assets into one
                   line item on the schedules. Assets have been categorizing based on the Debtors’
                   general ledger asset classifications and categorizations included in the company’s
                   reconciliations of the fixed asset accounts. Dollar amounts are presented net of
                   accumulated depreciation and other adjustments.

        e.         Schedule A/B Part 9 – Real Property – Leased Property. As detailed in the
                   Declaration of Michael Healy in Support of Debtors’ Chapter 11 Petitions and
                   First Day Relief [Docket No. 57], for the past several years, in structuring their

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                   operations, the Debtors would acquire Fueling Centers and Travel Centers and
                   simultaneously re-sell them to third-party investment vehicles (the “Landlords”)
                   who then lease the Fueling Centers and Travel Centers back to the Debtors pursuant
                   to long-term agreements (collectively, the “Prime Leases”). Certain of the Fueling
                   Centers (the “Operated Fueling Centers”) and Travel Centers (the “Operated Travel
                   Centers” and, together with the Operated Fueling Centers, the “Operated Sites”) are
                   operated by the Debtors (“Operated Dealers”), while certain sites are “dealered out”
                   and subleased to third-parties (the “Network Dealers” and, together with the
                   Operated Dealers, the “Dealers”) to operate a Fueling Center on the site (the
                   “Network Dealer Sites” and, together with the Operated Sites, the “Controlled
                   Sites”). The Debtors’ Fuel Distribution Business provides fuel to both Controlled
                   Sites and sites in which the Debtors hold no real property interests (the “Non-
                   Controlled Sites”).

                   The Debtors do not own the real estate underlying any of the Controlled Sites;
                   rather, certain Debtors lease the Controlled Sites from a third-party Landlords and
                   then sublease the Controlled Sites to either a third-party Network Dealer or a Debtor
                   entity in the case of Operated Sites.

                   Consequently, in the ordinary course of the Debtors’ business, the Debtors
                   frequently enter into and terminate real property leases, both as a tenant and as a
                   sub-landlord. For certain locations, a Debtor may be party to an unexpired lease
                   that, as of the Petition Date, was either not formally terminated or for which a
                   formal termination is not available, but for which as of the Petition Date, the
                   Debtors do not pay any rent and effectively do not occupy the premises. Certain of
                   those leases may be listed in the Debtors’ response to Question 55 out of an
                   abundance of caution. In addition, it is possible that the Debtors have a leasehold
                   interest in property that, as of the Petition Date, was not reduced to a formal, written
                   lease agreement; any such interests are not listed in response to Question 55.

                   With respect to owned real estate, the Debtors’ professionals have undertaken
                   property searches in jurisdictions in which the Debtors have indicated they have, or
                   historically have had, business operations. However, due to potential lag times in
                   updating and inaccuracies in electronic recordkeeping, among other factors, the
                   Debtors cannot warrant that their presentation of owned real property as of the
                   Petition Date is complete. The Debtors reserve the right to amend their listing of
                   owned real property as new information becomes available.

        f.         Schedule A/B, Part 11 - All Other Assets. Dollar amounts are presented net of
                   impairments and other adjustments.

                   Causes of Action Against Third Parties (whether or not a lawsuit has been filed).
                   In the ordinary course of their business, the Debtors may issue to Dealers certain
                   notices of default in connection with a Dealer’s failure to meet its obligations under
                   the contractual relationship between the parties. These notices may be pending or
                   resolved as of the Petition Date. To the extent the notices are not followed by the
                   commencement of formal litigation, the Debtors’ claims arising therefrom are not

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                   listed in response to this item, but their estates’ rights to retain and pursue such
                   claims are reserved.

                   Other Contingent and Unliquidated Claims or Causes of Action of Every Nature,
                   including Counterclaims of the Debtor and Rights to Setoff Claims. In the
                   ordinary course of their businesses, the Debtors may have accrued, or may
                   subsequently accrue, certain rights to counter-claims, cross-claims, setoffs, or
                   refunds with their customers and suppliers. Additionally, certain of the Debtors
                   may be party to pending litigation in which the Debtors have asserted, or may
                   assert, claims as a plaintiff or counter-claims and/or cross-claims as a defendant.
                   Because certain of these claims are unknown to the Debtors and not quantifiable as
                   of the Petition Date, they may not be listed on Schedule A/B, Part 11. Also, as
                   described above, in the ordinary course of their business, the Debtors may issue to
                   Dealers certain notices of default in connection with a Dealer’s failure to meet its
                   obligations under the contractual relationship between the parties. To the extent
                   the notices are not followed by the commencement of formal litigation, the Debtors’
                   claims arising therefrom are not listed in response to this item, but their estates’
                   rights to retain and pursue such claims are reserved.

        g.         Schedule D - Creditors Who Have Claims Secured by Property. Except as
                   otherwise agreed pursuant to the Final Order Pursuant to 11 U.S.C. §§ 105, 361,
                   362, 363, 364, and 507, Bankruptcy Rules 2002, 4001, 6004, and 9014, and Local
                   Rule 4001-1 (I) Authorizing the Debtors to Use Cash Collateral and Obtain Post-
                   Petition Financing, (II) Granting Liens and Providing Super-Priority
                   Administrative Expense Status, (III) Granting Adequate Protection, and (IV)
                   Granting Related Relief [Docket No. 332] (the “Final DIP Order”) or other
                   stipulation or order entered by the Bankruptcy Court, the Debtors reserve their
                   rights to dispute or challenge the validity, perfection, or immunity from avoidance
                   of any lien purported to be granted or perfected in any specific asset to a secured
                   creditor listed on Schedule D. Moreover, although the Debtors have scheduled
                   claims of various creditors as secured claims, the Debtors reserve all rights to
                   dispute or challenge the secured nature of any such creditor’s claim or the
                   characterization of the structure of any such transaction or any document or
                   instrument related to such creditor’s claim. In the ordinary course of their business
                   operations, the Debtors may be required to post bonds for motor fuel taxes, sales
                   taxes, environmental liabilities, and other purposes, which the Debtors may satisfy
                   by posting cash or issuing letters of credit. Such bonds are not scheduled here.

                   The descriptions provided in Schedule D are intended only to be a summary.
                   Reference to the applicable agreements and other related relevant documents is
                   necessary for a complete description of the collateral and the nature, extent, and
                   priority of any liens. In certain instances, a Debtor may be a co-obligor, co-
                   mortgagor, or guarantor with respect to scheduled claims of other Debtors, and no
                   claim set forth on Schedule D of any Debtor is intended to acknowledge claims of
                   creditors that are otherwise satisfied or discharged by other entities.

                   The Debtors have not included on Schedule D parties that may believe their claims

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                   are secured through setoff rights or inchoate statutory lien rights. Although there
                   are multiple parties that hold a portion of the debt included in the secured facilities,
                   only the administrative agents have been listed for purposes of Schedule D.

        h.         Schedule E/F - Creditors Who Have Unsecured Claims.

                   Part 1 - Creditors with Priority Unsecured Claims. Pursuant to the Order (I)
                   Authorizing the Payment of Certain Taxes and Fees and (II) Granting Related
                   Relief [Docket No. 82] (the “Taxes Order”), the Debtors have been granted the
                   authority to pay, in their discretion, certain tax liabilities that accrued prepetition.
                   The Debtors are in the process of reconciling their potential tax liabilities in various
                   jurisdictions and, consequently, such liabilities are indicated as “Unliquidated,” and
                   any amounts listed constitute the Debtors’ good faith estimates of the amounts of
                   such liabilities. To the extent the Debtors paid any such prepetition taxes in
                   accordance with the Taxes Order, the associated claims are not listed in the
                   Debtors’ Schedules.

                   Furthermore, pursuant to the Order Authorizing the Debtors to (I) Pay and/or
                   Honor Prepetition Wages, Salaries, Incentive Payments, Employee Benefits, and
                   Other Compensation; (II) Remit Withholding Obligations and Deductions; (III)
                   Maintain Employee Compensation and Benefits Programs and Pay Related
                   Administrative Obligations; and (IV) Have Applicable Banks and Other Financial
                   Institutions Receive, Process, Honor, and Pay Certain Checks Presented for
                   Payment and Honor Certain Fund Transfer Requests [Docket No. 85] (the “Wages
                   Order”), the Debtors received authority to pay certain prepetition obligations,
                   including to pay employee wages and other employee benefits, in the ordinary
                   course of business. To the extent the Debtors paid any such prepetition wage and
                   employee benefit obligations in accordance with the Wages Order, the associated
                   claims are not listed in the Debtors’ Schedules.

                   The listing of a claim on Schedule E/F, Part 1, does not constitute an admission by
                   the Debtors that such claim or any portion thereof is entitled to priority status.

                   Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified
                   in Schedule E/F, Part 2, are derived from each individual Debtor’s books and
                   records. The Debtors made a reasonable attempt to set forth their unsecured
                   obligations, although the actual amount of claims against the Debtors may vary
                   from those liabilities represented on Schedule E/F, Part 2. The listed liabilities may
                   not reflect the correct amount of any unsecured creditor’s allowed claims or the
                   correct amount of all unsecured claims.

                   Schedule E/F, Part 2, contains information regarding threatened or pending
                   litigation involving the Debtors. The amounts for these potential claims are listed
                   as “unknown” and are marked as contingent, unliquidated, and disputed in the
                   Schedules and Statements.




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                   Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
                   to executory contracts and unexpired leases. Such prepetition amounts, however,
                   may be paid in connection with the assumption or assumption and assignment of
                   an executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does
                   not include claims that may arise in connection with the rejection of any executory
                   contracts or unexpired leases

                   As of the time of filing of the Schedules and Statements, the Debtors may not have
                   received all invoices for payables, expenses, and other liabilities that may have
                   accrued prior to the Petition Date. Accordingly, the information contained in
                   Schedules D and E/F may be incomplete. The Debtors reserve their rights to amend
                   Schedules D and E/F if and as they receive such invoices.

        i.         Schedule G - Executory Contracts and Unexpired Leases. While reasonable
                   efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
                   omissions may have occurred.

                   Listing a contract or agreement on Schedule G does not constitute an admission
                   that such contract or agreement is an executory contract or unexpired lease or that
                   such contract or agreement was in effect on the Petition Date or is valid or
                   enforceable. The Debtors hereby reserve all of their rights to dispute the validity,
                   status, or enforceability of any contracts, agreements, or leases set forth in Schedule
                   G and to amend or supplement such Schedule as necessary. Certain of the leases
                   and contracts listed on Schedule G may contain renewal options, guarantees of
                   payment, indemnifications, options to purchase, rights of first refusal, and other
                   miscellaneous rights. Such rights, powers, duties, and obligations are not set forth
                   separately on Schedule G. In addition, the Debtors may have entered into various
                   other types of agreements in the ordinary course of their business, such as
                   supplemental agreements, amendments, and letter agreements, which documents
                   may not be set forth in Schedule G.

                   Certain of the agreements listed on Schedule G may have expired or terminated
                   pursuant to their terms, but are listed on Schedule G in an abundance of caution.

                   The Debtors reserve all rights to dispute or challenge the characterization of any
                   transaction or any document or instrument related to a creditor’s claim.

                   In some cases, the same supplier or provider may appear multiple times in an
                   individual Debtor’s Schedule G. Multiple listings, if any, reflect distinct
                   agreements between the applicable Debtor and such supplier or provider. In
                   addition, in some cases, an agreement may appear on the Schedule G of more than
                   one Debtor, in which event each such Debtor is party to said agreement.

                   Certain agreements may, by their terms, have been made between one Debtor and
                   a third-party counterparty but performed under in the ordinary course by a different
                   Debtor. In such case, the agreement is listed in the Schedule G of the Debtor that
                   appears on the face of such agreement. Omission of such agreement from the


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                   Schedule G of another Debtor does not constitute an admission that such Debtor
                   does not have rights and/or obligations under such agreement or that the Debtor
                   counterparty to such agreement is the Debtor on whose Schedule G such agreement
                   is listed.

                   The listing of any contract on Schedule G does not constitute an admission by the
                   Debtors as to the validity of any such contract. The Debtors reserve the right to
                   dispute the effectiveness of any such contract listed on Schedule G or to amend
                   Schedule G at any time to remove any contract.

                   Omission of a contract or agreement from Schedule G does not constitute an
                   admission that such omitted contract or agreement is not an executory contract or
                   unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
                   any such omitted contracts or agreements are not impaired by the omission.

6.      Specific Statements Disclosures.

        a.         Statements, Part 2, Question 6 - Setoffs. Due to the nature of the Debtors’
                   business, the Debtors and their vendors and other counterparties to business
                   relationships implement setoffs in the ordinary course on a daily basis, including
                   obligations to and from fuel suppliers, fuel dealers and fuel vendors. Such
                   numerous, regularly-occurring setoff transactions have not been scheduled.

        b.         Statements, Part 2, Question 4 and Part 13, Question 30 - Payments,
                   Distributions, or Withdrawals Credited or Given to Insiders. Distributions by
                   the Debtors to their directors and officers are listed on the attachment to Question 4.
                   Certain of the Debtors’ directors and executive officers received distributions net
                   of tax withholdings in the year preceding the Petition Date. The amounts listed
                   under Questions 4 and 30 reflect the gross amounts paid to such directors and
                   executive officers, rather than the net amounts after deducting for tax withholdings.

                   Certain insiders have been provided with company credit cards in connection with
                   their responsibilities to the Debtors. Payments on account of charges made using
                   such cards have been compiled and presented on a monthly basis. The Debtors
                   reserve the right to characterize any such payments as constituting benefits
                   provided to the insider incurring the corresponding charges.

                   Similarly, the Debtors have satisfied certain automobile lease expenses for vehicles
                   utilized by certain insiders.

        c.         Statements, Part 3 – Legal Actions or Assignments. In the ordinary course of
                   their business, the Debtors may be subject to various administrative activities in the
                   numerous jurisdictions in which they operate relating to various regulated products
                   that may be involved or circumstances that may arise regularly in the Debtors’
                   operations. These administrative activities may involve issues relating to tobacco
                   sales, zoning issues, alcohol regulations and other aspects of the Debtors’ day-to-
                   day business. In some jurisdictions, the process of notifying the relevant Debtor of
                   a compliance issue requires the commencement of a formal legal action, even if an

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                   operational citation is quickly resolved or no further action is undertaken. The
                   Debtors have not included such actions in connection with this item.

        d.         Statements, Part 7 – Previous Locations. The information presented includes the
                   Debtors’ previous office locations. However, the information presented does not
                   include the numerous locations to which each of the Debtors may have previously
                   delivered fuel or gas station locations in which the Debtors may have held an
                   interest.

        e.         Statements, Part 11 – Property the Debtor Holds or Controls that the Debtor
                   Does Not Own. In the ordinary course of business, the Debtors are in possession
                   of numerous pieces of equipment, such as Visi-coolers, lottery machines, propane
                   cages, ice machines/coolers, and automated teller machines. Typically, these items
                   are located at a Debtor’s place of business incidental to a services or other
                   agreement to which a Debtor may be a party. Consequently, the Debtors do not
                   separately track or collect information regarding each item that may be utilized in
                   the performance of such agreements and, as such, these items are not listed here.
                   At certain of the Debtors’ locations, in connection with their contractual
                   relationships with fuel suppliers, the Debtors are consigned fuel.

        f.         Statements, Part 12 – Details About Environmental Information. The Debtors
                   have operated for a lengthy period of time and periodically have: (a) been party to
                   administrative and judicial proceedings under or concerning environmental laws;
                   (b) received notification from governmental units of potential liability under, or
                   potential violations of, environmental laws; and (c) notified governmental units of
                   potential releases of hazardous materials in compliance with applicable
                   environmental laws. In many instances, the Debtors no longer have active
                   operations in a particular jurisdiction or with respect to a particular property and no
                   longer possess the relevant records, or the records are incomplete or not readily
                   accessible or reviewable. In certain instances, statutory document retention periods
                   have expired. Further, some individuals who once possessed responsive
                   information are no longer employed by the Debtors. For all of these reasons, it is
                   impossible to identify and supply all of the requested information that may be
                   responsive to Statements #22 – 24. The Debtors’ responses to Statements #22 – 24
                   are also limited to identifying circumstances in which governmental agencies have
                   alleged in writing that particular operations of the Debtors are in violation of
                   environmental laws and thus do not cover: (i) periodic information requests,
                   investigations, or inspections from governmental units concerning compliance with
                   environmental laws where such information requests, investigations, or inspections
                   are not followed by a formal written Notice of Violation or similar formal notice;
                   or (ii) routine reports and submissions made by the Debtors to governmental units
                   in compliance with applicable environmental laws. Moreover, in certain
                   jurisdictions in which the Debtors operate, governmental units’ notice to the
                   Debtors of the Debtors’ compliance with environmental laws may be informal,
                   even following a formal Notice of Violation. The Debtors acknowledge the
                   possibility that information related to proceedings, governmental notices, and
                   reported releases of hazardous materials responsive to Statements #22–24 may be

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                   discovered subsequent to the filing of the Schedules and Statements. The Debtors
                   reserve the right to supplement or amend this response if additional information
                   becomes available. These responses address proceedings, governmental notices,
                   and reported releases of hazardous materials related to the primary applicable
                   environmental laws and do not include proceedings, governmental notices, or
                   reported releases related to non-environmental laws, such as occupational safety
                   and health laws or general transportation laws.

                   With respect to the Debtors’ responses to Statement #22, the Debtors have made
                   commercially reasonable efforts to provide responsive information for proceedings
                   commencing January 1, 2022, through the Petition Date.

                   With respect to the Debtors’ responses to Statement #23, the Debtors have made
                   commercially reasonable efforts to provide responsive information for notifications
                   that (a) were received between January 1, 2022 and the Petition Date, whether or
                   not such notifications were resolved as of the Petition Date; and (b) were received
                   prior to January 1, 2022 to the extent such notifications were not resolved as of the
                   Petition Date.

                   With respect to the Debtors’ responses to Statement #24, the Debtors have made
                   commercially reasonable efforts to provide responsive information for notifications
                   made to any governmental unit concerning any potential release of hazardous
                   material at a location in which a Debtor had an interest as of the Petition Date
                   (whether or not the Debtors themselves made such notification) where (a) such
                   notification was made between January 1, 2020 and the Petition Date, whether or
                   not the subject matter of the notice was resolved as of the Petition Date; and (b)
                   such notification was made prior to January 1, 2020 to the extent the subject matter
                   of the notice was not resolved as of the Petition Date. Certain information provided
                   by the Debtors in response to Statement #24 has been obtained from applicable
                   governmental units.

        g.         Statements, Part 13 – Details About the Debtor’s Business or Connections to
                   Any Business. The dates indicated are those during which the Debtor had an
                   interest, and not the dates of operation of the business. The Debtors have
                   undertaken a commercially reasonable search of their books and records to address
                   this item, however, prior to the time the current principals assumed ownership of
                   the business approximately six years ago, there may have been additional, now-
                   defunct entities that are not reasonably known to the Debtors. The Debtors lack the
                   books and records to determine whether WHRG-LA2, LLC or its subsidiaries,
                   acquired from Brothers Petroleum in 2021, formerly had any interest in other
                   entities prior to the Debtors’ acquisition of such entities.

                                  Right to Amend and/or Supplement

       The Debtors reserve the right to amend and/or supplement the Schedules and Statements
as may be necessary or appropriate.

                                           General Disclaimer

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        The Debtors have prepared the Schedules and Statements based on the information
reflected in the Debtors’ books and records. However, inasmuch as the Debtors’ books and records
have not been audited, the Debtors cannot warrant the absolute accuracy of these documents. The
Debtors have made a diligent effort to complete these documents accurately and completely. To
the extent additional information becomes available, the Debtors will amend and supplement the
Schedules and Statements.

        The Debtors and their officers, employees, agents, attorneys and financial advisors do not
guarantee or warrant the accuracy, completeness or timeliness of the data that is provided herein
and shall not be liable for any loss or injury arising out of or caused, in whole or in part, by the
acts, errors or omissions, whether negligent or otherwise, in procuring, compiling, collecting,
interpreting, reporting, communicating or delivering the information contained herein. The
Debtors and their officers, employees, agents, attorneys and financial advisors expressly do not
undertake any obligation to update, modify, revise or re-categorize the information provided herein
or to notify any third party should the information be updated, modified, revised or re-categorized,
except as required by applicable law. In no event shall the Debtors or their officers, employees,
agents, attorneys and financial advisors be liable to any third party for any direct, indirect,
incidental, consequential or special damages (including, but not limited to, damages arising from
the disallowance of a potential claim against the Debtors or damages to business reputation, lost
business or lost profits), whether foreseeable or not and however caused.




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 Fill in this information to identify the case:

 Debtor Name: In re : MEX RE-SE-AL LLC

 United States Bankruptcy Court for the: Southern District Of Texas

 Case number (if known): 23-90260 (DRJ)

                                                                                                                         Check if this is an
                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                       04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor¶s name and case number (if known).


 Part 1:      Income


 1. Gross revenue from business

    5 None


           Identify the beginning and ending dates of the debtor¶s fiscal year, which        Sources of revenue     Gross revenue
           may be a calendar year                                                            Check all that apply   (before deductions and
                                                                                                                    exclusions)


        From the beginning of the
        fiscal year to filing date: From                              to    Filing date      Operating a business

                                                 MM / DD / YYYY                              Other                  $



        For prior year:                 From                          to                     Operating a business

                                                 MM / DD / YYYY             MM / DD / YYYY   Other                  $



        For the year before that:       From                          to                     Operating a business

                                                 MM / DD / YYYY             MM / DD / YYYY   Other                  $




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Debtor:   MEX RE-SE-AL LLC                                                                          Case number (if known):   23-90260

          Name


 2. Non-business revenue

    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
    and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    5 None


                                                                                                                              Gross revenue from each
                                                                                                Description of sources        source
                                                                                                of revenue                    (before deductions and
                                                                                                                              exclusions)

       From the beginning of the
       fiscal year to filing date: From                          to   Filing date                                               $
                                            MM / DD / YYYY


      For prior year:                From                        to                                                             $
                                            MM / DD / YYYY            MM / DD / YYYY


       For the year before that:     From                        to                                                             $
                                            MM / DD / YYYY            MM / DD / YYYY




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Debtor:    MEX RE-SE-AL LLC                                                                              Case number (if known):    23-90260

           Name



 Part 2:          List Certain Transfers Made Before Filing for Bankruptcy

      3. Certain payments or transfers to creditors within 90 days before filing this case

        List payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation, within 90 days before
        filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575 . (This amount may be adjusted on 4/01/25
        and every 3 years after that with respect to cases filed on or after the date of adjustment.)

        5 None

                  Creditor¶s name and address                                                                           Reasons for payment or transfer
                                                                     Dates             Total amount or value
                                                                                                                        Check all that apply
           3.1                                                                          $                                          Secured debt
                  Creditor's Name
                                                                                                                                   Unsecured loan repayments

                                                                                                                                   Suppliers or vendors
                  Street
                                                                                                                                   Services

                                                                                                                                   Other


                  City                   State        ZIP Code



                  Country




 4.              Payments or other transfers of property made within 1 year before filing this case that benefited any insider


                 List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
                 guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
                 $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of
                 adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
                 and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
                 any managing agent of the debtor. 11 U.S.C. § 101(31).
                 5 None

                 Insider's Name and Address                      Dates            Total amount or value           Reason for payment or transfer

          4.1                                                                      $
                 Insider's Name




                 Street




                 City                  State       ZIP Code



                 Country


                 Relationship to Debtor




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Debtor:   MEX RE-SE-AL LLC                                                                             Case number (if known):   23-90260

          Name

 5.     Repossessions, foreclosures, and returns

        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
        sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.


        5 None

        Creditor's Name and Address                             Description of the Property                   Date                  Value of property

          5.1                                                                                                                        $
                Creditor's Name



                Street




                City                  State       ZIP Code



                Country



   6.   Setoffs

        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
        of the debtor without permission or refused to make a payment at the debtor¶s direction from an account of the debtor because the debtor owed a
        debt.

           None

                Creditor's Name and Address                  Description of the action creditor took      Date action was taken          Amount

          6.1 See Global Notes Regarding Setoffs                                                                                         $
                Creditor's Name



                Street

                                                                Last 4 digits of account number: XXXX±


                City              State       ZIP Code



                Country




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Debtor:    MEX RE-SE-AL LLC                                                                       Case number (if known):   23-90260

           Name


 Part 3:         Legal Actions or Assignments

 7.    Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
       involved in any capacity²within 1 year before filing this case.
       5 None

                   Case title                       Nature of case                   Court or agency¶s name and address                        Status of case

           7.1                                                                                                                                      Pending
                                                                                    Name
                                                                                                                                                    On appeal

                                                                                                                                                    Concluded
                                                                                    Street

                   Case number


                                                                                    City                       State        ZIP Code


                                                                                    Country




 8.   Assignments and receivership
      List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands
      of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      5 None
                 Custodian¶s name and address                Description of the Property                Value
          8.1                                                                                       $
                 Custodian¶s name                                                                       Court name and address
                                                             Case title
                 Street                                                                                 Name




                                                             Case number                                Street

                 City               State       ZIP Code



                 Country                                     Date of order or assignment                City                           State           ZIP Code



                                                                                                        Country




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Debtor:    MEX RE-SE-AL LLC                                                                     Case number (if known):   23-90260

           Name


 Part 4:         Certain Gifts and Charitable Contributions
 9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
      of the gifts to that recipient is less than $1,000

      5 None

                                                              Description of the gifts or
                 Recipient¶s name and address                                                    Dates given                 Value
                                                              contributions
           9.1                                                                                                               $
                 Creditor's Name


                 Street




                 City                 State        ZIP Code


                 Country

                  Recipient¶s relationship to debtor




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Debtor:    MEX RE-SE-AL LLC                                                                              Case number (if known):   23-90260

           Name


 Part 5:         Certain Losses
 10.      All losses from fire, theft, or other casualty within 1 year before filing this case.
          5 None

                                                                Amount of payments received
                                                                for the loss
                                                                If you have received payments to
                                                                cover the loss, for example, from
                                                                insurance, government
                 Description of the property lost and how the
                                                                compensation, or tort liability, list   Date of loss                       Value of property lost
                 loss occurred
                                                                the total received.
                                                                List unpaid claims on Official
                                                                Form 106A/B (Schedule A/B:
                                                                Assets ±Real and Personal
                                                                Property).
          10.1                                                                                                                         $




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Debtor:     MEX RE-SE-AL LLC                                                                           Case number (if known):   23-90260

           Name


  Part 6:      Certain Payments or Transfers

   11.      Payments related to bankruptcy

           List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
           of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
           relief, or filing a bankruptcy case.
           5 None

                     Who was paid or who received the transfer?     If not money, describe any property transferred    Dates             Total amount or value

              11.1                                                                                                                          $


                     Address


                     Street




                     City               State         ZIP Code



                     Country

                     Email or website address



                     Who made the payment, if not debtor?




  12. Self-settled trusts of which the debtor is a beneficiary

          List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this
          case to a self-settled trust or similar device.
          Do not include transfers already listed on this statement.
          5 None

                                                                                                             Dates transfers
                   Name of trust or device                        Describe any property transferred                                  Total amount or value
                                                                                                             were made
            12.1                                                                                                                     $


                   Trustee




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           Name

  13. Transfers not already listed on this statement

          List any transfers of money or other property - by sale, trade, or any other means - made by the debtor or a person acting on behalf of the debtor
          within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial
          affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


          5 None

                                                                 Description of property transferred or
                   Who received transfer?                                                                 Date transfer was
                                                                 payments received or debts paid in                              Total amount or value
                                                                                                          made
                                                                 exchange
            13.1                                                                                                                 $


                   Address


                   Street




                   City              State        ZIP Code



                   Country
                   Relationship to Debtor




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Debtor:     MEX RE-SE-AL LLC                                                                      Case number (if known):   23-90260

           Name


  Part 7:        Previous Locations
   14.     Previous addresses

           List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
           5 Does not apply
                  Address                                                           Dates of occupancy

          14.1                                                                       From                                   To
                 Street




                 City                  State                 ZIP Code


                 Country




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Debtor:     MEX RE-SE-AL LLC                                                                              Case number (if known):   23-90260

            Name


  Part 8:          Health Care Bankruptcies
  15. Health Care bankruptcies

       Is the debtor primarily engaged in offering services and facilities for:
       ²diagnosing or treating injury, deformity, or disease, or
       ²providing any surgical, psychiatric, drug treatment, or obstetric care?
       5 No. Go to Part 9.

             Yes. Fill in the information below.

                                                                                                                                    If debtor provides meals and
                   Facility Name and Address                  Nature of the business operation, including type of services
                                                                                                                                    housing, number of patients in
                                                              the debtor provides
                                                                                                                                    debtor¶s care
            15.1
                   Facility Name




                                                              Location where patient records are maintained (if different from
                                                              facility address). If electronic, identify any service provider.
                                                                                                                                    How are records kept?
                   Street                                                                                                           Check all that apply:
                                                                                                                                        Electronically

                                                                                                                                        Paper
                   City            State           ZIP Code



                   Country




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Debtor:    MEX RE-SE-AL LLC                                                                       Case number (if known):   23-90260

           Name


 Part 9:      Personally Identifiable Information

    16. Does the debtor collect and retain personally identifiable information of customers?

          5 No.

             Yes. State the nature of the information collected and retained.

                    Does the debtor have a privacy policy about that information?

                       No

                        Yes

           See Global Notes

 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

      5No. Go to Part 10.

           Yes. Does the debtor serve as plan administrator?

              No. Go to Part 10.

              Yes. Fill in below:

                              Name of plan                                              Employer identification number of the plan

                     17.1                                                               EIN:

                              Has the plan been terminated?
                                 No
                                Yes




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Debtor:    MEX RE-SE-AL LLC                                                                              Case number (if known):   23-90260

          Name


 Part 10:        Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts

      Within 1 year before filing this case, were any financial accounts or instruments held in the debtor¶s name, or for the debtor¶s benefit, closed,
      sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
      cooperatives, associations, and other financial institutions.

      5 None


                                                                                                                   Date account was
                                                                        Last 4 digits of                                                Last balance before closing or
                 Financial institution name and address                                      Type of account       closed, sold, moved,
                                                                        account number                                                  transfer
                                                                                                                   or transferred


          18.1                                                          XXXX-                Checking                                     $
                 Name
                                                                                             Savings

                                                                                             Money market
                 Street
                                                                                             Brokerage

                                                                                             Other


                 City                State            ZIP Code



                 Country



   19.    Safe deposit boxes

          List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
          filing this case.
            5 None


                                                                                Names of anyone with access                                    Does debtor still
                        Depository institution name and address                                                 Description of the contents
                                                                                to it                                                          have it?



                 19.1                                                                                                                             No
                          Name

                                                                                                                                                  Yes
                          Street



                                                                                Address
                          City               State               ZIP Code



                        Country




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Debtor:   MEX RE-SE-AL LLC                                                                            Case number (if known):   23-90260

          Name

  20. Off-premises storage

      List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
      building in which the debtor does business.

       5 None


                                                                                                                                           Does debtor still
                 Facility name and address                        Names of anyone with access to it         Description of the contents
                                                                                                                                           have it?



          20.1                                                                                                                               No
                 Name

                                                                                                                                             Yes
                 Street




                                                                  Address
                 City               State          ZIP Code



                 Country




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Debtor:   MEX RE-SE-AL LLC                                                                       Case number (if known):   23-90260

          Name


 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
      List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
      trust. Do not list leased or rented property.
      5 None

                 Owner¶s name and address                Location of the property        Description of the property            Value

          21.1                                                                                                              $
                 Name


                 Street




                 City          State        ZIP Code



                 Country




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Debtor:     MEX RE-SE-AL LLC                                                                               Case number (if known):   23-90260

           Name


  Part 12:        Details About Environmental Information
  For the purpose of Part 12, the following definitions apply:
  
          Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
          regardless of the medium affected (air, land, water, or any other medium).
  
          Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
          formerly owned, operated, or utilized.
  
          Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
          or a similarly harmful substance.
  Report all notices, releases, and proceedings known, regardless of when they occurred.

  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

       5 No

             Yes. Provide details below.

                   Case title                        Court or agency name and address                       Nature of the case                  Status of case

           22.1                                                                                                                                     Pending
                                                     Name
                                                                                                                                                    On appeal
                                                                                                                                                    Concluded
                                                     Street



                  Case Number


                                                     City                State           ZIP Code



                                                     Country


 23.      Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of
          an environmental law?

          5 No

             Yes. Provide details below.

                                                               Governmental unit name and
                  Site name and address                                                                        Environmental law, if known       Date of notice
                                                               address
           23.1
                  Name                                         Name


                  Street                                       Street




                  City            State            ZIP Code    City              State          ZIP Code



                  Country                                      Country




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Debtor:    MEX RE-SE-AL LLC                                                                   Case number (if known):   23-90260

           Name

  24.     Has the debtor notified any governmental unit of any release of hazardous material?

          5 No

             Yes. Provide details below.

                  Site name and address                Governmental unit name and address      Environmental law, if known         Date of notice

           24.1
                  Name                                 Name


                  Street                               Street




                  City        State         ZIP Code   City           State        ZIP Code



                  Country                              Country




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Debtor:    MEX RE-SE-AL LLC                                                                                Case number (if known):        23-90260

           Name


  Part 13:       Details About the Debtor¶s Business or Connections to Any Business
  25. Other businesses in which the debtor has or has had an interest
       List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
       case.Include this information even if already listed in the Schedules.
          5 None
                                                                                                              Employer Identification number
                  Business name and address                          Describe the nature of the business
                                                                                                              Do not include Social Security number or ITIN.
          25.1                                                                                                EIN:
                 Name
                                                                                                              Dates business existed
                                                                                                              From                              To
                 Street




                 City                   State            ZIP Code



                 Country



 26. Books, records, and financial statements

      26a. List all accountants and bookkeepers who maintained the debtor¶s books and records within 2 years before filing this case.

             None

                  Name and Address                                                          Dates of service

          26a.1 See SOFA 26a Attachment                                                     From                                          To
                  Name


                  Street




                  City                           State                      ZIP Code


                  Country


      List all firms or individuals who have audited, compiled, or reviewed debtor¶s books of account and records or prepared a financial
 26b. statement within 2 years before filing this case.

              None
                        Name and Address                                                  Dates of service

                  Christopher M. Bailey, President - Nichols, Cauley & Associates,
            26b.1 LLC                                                                     From     2020 Tax Year                     To
                        Name

                        1825 Barrett Lakes Blvd. NW
                        Street

                        Suite 200
                        Kennesaw                GA                  30144
                        City                    State               ZIP Code


                        Country




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Debtor:    MEX RE-SE-AL LLC                                                                        Case number (if known):        23-90260

          Name

           26b.2 Justin Wilkes, Partner - BDO USA, LLP                             From      2022 (Engaged only)             To
                   Name

                   1100 Peachtree Street NE
                   Street

                   Suite 700
                   Atlanta                 GA               30309
                   City                    State            ZIP Code


                   Country


  26c. List all firms or individuals who were in possession of the debtor¶s books of account and records when this case is filed.
             None

                                                                                                        If any books of account and records are
                 Name and address
                                                                                                        unavailable, explain why

          26c.1 See SOFA 26c Attachment
                 Name



                 Street




                 City                                           State             ZIP Code



                 Country




  26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
       statement within 2 years before filing this case.

              None

                        Name and address

            26d.1 See Global Notes
                    Name



                    Street




                    City                                                State           ZIP Code



                    Country




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Debtor:    MEX RE-SE-AL LLC                                                                         Case number (if known):   23-90260

           Name

 27. Inventories

      Have any inventories of the debtor¶s property been taken within 2 years before filing this case?

       5 No

            Yes. Give the details about the two most recent inventories.

                                                                                        Date of          The dollar amount and basis (cost, market, or
                  Name of the person who supervised the taking of the inventory
                                                                                        Inventory        other basis) of each inventory
                                                                                                         $


                  Name and address of the person who has possession of inventory
                  records
          27.1
                  Name



                  Street




                  City                State                   ZIP Code



                  Country



 28. List the debtor¶s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

                  Name                              Address                                         Position and Nature of any           % of interest, if any
                                                                                                    interest
                                                    3650 Mansell Road, Suite 250, Alpharetta,
          28.1 MEX RE-SE LLC                        GA 30022                                        Owner                                100.00%

                                                    3650 Mansell Road, Suite 250, Alpharetta,
          28.2 Mountain Express Oil Company         GA 30022                                        Manager


 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members
     in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

          5 No

             Yes. Identify below.

                                                                                           Position and Nature of         Period during which position or
                 Name                         Address
                                                                                           any interest                   interest was held
          29.1                                                                                                            From                To




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Debtor:     MEX RE-SE-AL LLC                                                                         Case number (if known):     23-90260

           Name

  30. Payments, distributions, or withdrawals credited or given to insiders
          Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
          bonuses, loans,credits on loans, stock redemptions, and options exercised?
          5 No
              Yes. Identify below.

                                                                       Amount of money
                    Name and address of recipient                      or description and    Dates                             Reason for providing the value
                                                                       value of property

            30.1
                    Name


                    Street




                    City                     State       ZIP Code


                    Country

                    Relationship to debtor



  31.     Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          5 No

             Yes. Identify below.

                   Name of the parent corporation                                  Employer Identification number of the parent corporation

           31.1                                                                   EIN:


   32.     Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           5 No

              Yes. Identify below.

                     Name of the pension fund                                   Employer Identification number of the pension fund

             32.1                                                               EIN:




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Part 14:
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              Signature and Declaration


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.

18 U.S.C.§§ 152, 1341, 1519, and 3571.


I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.


I declare under penalty of perjury that the foregoing is true and correct.



Executed on       06/18/2023
                    MM / DD / YYYY




      / s / Michael Healy
                                                                                    Printed name Michael Healy

     Signature of individual signing on behalf of the debtor


     Position or relationship to debtor   Chief Restructuring Officer


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

        No

5       Yes
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                                                             In re: MEX RE-SE-AL LLC
                                                                 Case No. 23-90260
                                                                     Attachment 26a
                                         Books, records and financial statements - Accountants and bookkeepers
Name                    Address 1                     Address 2 City         State     Zip   Title                            Dates of service
                                                                                             Executive Vice President/Chief
Bryant Genesi           3650 Mansell Road             Suite 250   Alpharetta GA        30022 Operating Officer                Dec 2022 to June 2023
                                                                                             President - Nichols, Cauley, &
Christopher M. Bailey   1825 Barrett Lakes Blvd. NW   Suite 200   Kennesaw GA          30144 Associates, LLC                  2020 Tax Year
Dustin Martin           3650 Mansell Road             Suite 250   Alpharetta GA        30022 VP of Finance                    2020 to Present
Robert Coe              3650 Mansell Road             Suite 250   Alpharetta GA        30022 Senior Controller                Aug 2017 to Present
Stephanie Henderson     3650 Mansell Road             Suite 250   Alpharetta GA        30022 Controller                       Dec 2022 to Present




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                                     In re: MEX RE-SE-AL LLC
                                         Case No. 23-90260
                                              Attachment 26c
            Books, records and financial statements - Firms in possession of books and records
Name                               Address 1                     Address 2 City         State Zip
Bryant Genesi                      3650 Mansell Road             Suite 250 Alpharetta GA       30022
Dustin Martin                      3650 Mansell Road             Suite 250 Alpharetta GA       30022
Justin Wilkes - BDO USA, LLP       1100 Peachtree Street NE Suite 700 Atlanta           GA     30309
Robert Coe                         3650 Mansell Road             Suite 250 Alpharetta GA       30022
Stephanie Henderson                3650 Mansell Road             Suite 250 Alpharetta GA       30022




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